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Skyhorse Publishing Inc.
307 West 36th Street
11th Floor .
New York, New York 10018:

PUBLISHING AGREEMENT

This Agreement, dated as of the 23" day of January, 2023, between:

Alex Jones

c/o Waterside Productions, Inc.
2055 Oxford Avenue
Cardiff-by-the-Sea, CA 92007

(hereinafter called “the Author”) and Skyhorse Publishing Inc. (hereinafter called “the _
Publisher”), a Delaware corporation with offices at 307 West 36th Street, New York, NY
10018, with respect to a’work that the Author is writing or compiling, has written or
compiled, or to which the Author holds or controls the rights. The Work is tentatively
titled:

Taking Down the Globalist Puppetmasters

J) Delivery of Manuscript.
The completed work shall consist of approximately 80,000 words and 0 images,
illustrations, or photos and shall include any text and any images, illustrations, of photog
(including but not limited to photos of the Author) supplied by the Author for the cover
or jacket (hereinafter called “‘the Work”). The Author agrees to deliver-adistte

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of the manuscript as a:complete Microsoft Word file on or beforg Ame 5, 2023

(hereinafter called the “Delivery Date”), All images, illustrations, of photos must be ak os
electronically (by file transfer, FTP, flash drive, or email) at a.resolution suitable for a a a

reproduction. The manuscript and its components, including all images, illustrations, or
photos, the table of contents, [an index], and any other materials shall be compiled and
delivered at the Author's sole expense. If the Author fails'to deliver the manuscript
within thirty (30) calendar days of the Delivery Date, the Publisher may, in its sole
discretion, either (a) cancel this Agreement and the Author shall, within thirty (30)
calendar days of notification by the Publisher, be legally required to repay any advances
paid; or (b) enforce this Agreement with an-amended Delivery Date. Ifthe Author __
delivers the manuscript but refuses to make reasonable changes, or provides materials in
an incorrect format, the Publisher may complete the manuscript as is necessary and
charge the reasonable, documented cost to the Author. Jf the Author has refused to make

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reasonable changes which have therefore been made by the Publisher, the Author shall
nonetheless have the right to approve the changes made by the Publisher which right
must be exercised within ten (10) business days of receipt by the Author of the revised
manuscript from the Publisher: Approval by the Author shall not be unreasonably
withheld or delayed.

If the Author is doing two Works for the Publisher and the first Work is not

delivered in a timely manner, Publisher may withhold any remaining advance on the first
Work until the second Work is delivered. If the manuscript must be scanned to obtain
disks or if any images are created, obtained, or scanned, the Publisher may do this and
charge the reasonable, documented cost to the Author. If the completed manuscript is not
acceptable to the Publisher for any editorial or legal reason, the Publisher may reject the
Work and the Author shall have an additional thirty (30) calendar days (or such extension
as is mutually agreed upon by the parties) after receipt of detailed editorial notes within
which to resubmit the Work to the Publisher. If the Publisher still rejects the manuscript,
and the Author subsequently finds another publisher to publish the Work, the Author
shall be required to repay all. advances paid to the Author before any rights shall revert to
the Author or transfer to the new publisher, In the event a new publisher is not found, the.
Author of a rejected Work may obtain a reversion upon the repayment to the Publisher of
the advance. The Publisher agrees to publish the completed Work in a physical format
unless otherwise mutually agreed within six (6) months of delivery and acceptance of the
mariuscript. If the Publisher does not publish the accepted Work within the specified

time, it'shall revert all rights to the Author and retum the disks and copies of the
manuscript, but shall have no further liability.

2) Warranties and Indemnity:

Subject to the provisions of Paragraph 2(A) hereof, the Author warrants that Author is
either the sole author, the originator, or the proprietor and sole owner of all copyrightable
material contained in the Work or will deliver valid written permission for any material
created and/or copyrighted by another for which permission is required; such permission.
shall extend to all the rights granted herein. If the Author fails to deliver such permission,
the Publisher shall have the right, at its sole option, either to secure such rights at its own
expense (or to create the material itself) and charge those expenses and any and all
reasonable fees against future sums due to the Author (including any unpaid advances) or
to require that the Author pay those expenses in cash or to reject the manuscript. The
Author warrants that Author is the sole and exclusive owner of all rights granted to the
Publisher in this Agreement and has not assi gned, pledged, or otherwise encumbered the
same; that the Work is original, has not been published in book form, and is not in the
public domain; that Author has full power to enter into this Agreement and to make the
grants herein contained; that the Work does not, in whole or in part, infringe any
copyright or violate any right of privacy or other personal or property right whatsoever,
or contain any libelous matter or matter otherwise contrary to law; and that all statements
asserted as facts are true. The Author further represents and warrants that the use, with
reasonable skill and care, of any recipe, instruction, formula, direction, advice, or other
material or information contained in the Work will not result in injury to anyone and that
the Author shall include in the Work appropriate warnings and safety precautions. In the
event of an infringement of the Work by any third party or parties, either the Publisher or

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the Author may, at the Publisher's or the Author's own expense, bring suit and; after
recoupment of all.costs and fees, any recovery shall be shared fifty percent (50%) to the
Publisher and fifty percent (50%) to the Author.

The Publisher reserves the right to insist that the Author alter the text of the Work
at its sole discretion for the purpose of removing or clarifying any passage that on the
advice of the Publisher's legal counsel may be actionable. Any such alteration-or removal
shall be without prejudice to and shall not affect the Author’s liability under the Author's
warranty and indemnification contained herein with respect to any passages other than
the ones specifically changed at the Publisher’s insistence.

The Publisher shall have the right to extend the Author's warranties to third
parties (including licensees of subsidiary rights granted by the Publisher hereunder) and
the Author shall be liable thereon to the same extent as if'such representations and
warranties were made originally or directly to such third parties. The warranties and
indemnities set forth herein shall survive in the event this Agreement is terminated or
expires or ends forany other reason.

In the event of the assertion of any claim, suit, action, or proceeding inconsistent
with any of the foregoing representations and warranties, (a) the Publisher shall have the
right to defend the same through counsel of its own choosing, and the Author may join in
such defense with counsel of Author's own choosing at the Author’s own expense
provided that Publisher's counsel will control the defense of any claim; and (b) the
Author shall fully cooperate in the Publisher's defense and shall indemnify and hold
harmless the Publisher, any seller or distributor of the Work, and the Publisher's
successors, licensees, and assigns, and any. officers, agents, and employees of the
foregoing, from and against any and all liability, damage, loss, expense (including
attorney’s fees and legal expenses), and settlement costs resulting from any such claim,
suit, action, of proceeding.

Until such claim, suit, action, or proceeding has been settled or withdrawn, the
Publisher may withhold any sums due to the Author under this or any other agreement. If
no action has been taken or is imminent on a claim in twelve (12) months, Publisher shall
release such withheld sums to the Author.

3) Grant of Rights. .

The Author hereby grants to the Publisher for the full, legal term of copyright, throughout
World the sole and exclusive right to produce, publish, license, and sell the Work or any.
part or parts thereof, or any abridgement, or any expansion or adaptation of the Work,
(including but not limited to graphic novels), in all languages in physical book form and

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in electronic form (including but not limited to the right to make apps or enhanced
ebooks) as well as audio rights (‘audio rights" being defined as including audio books,
podcast rights, radio rights, or the right to read the Work in front of a live or studio
audience in its entirety or in excerpted form). Abridgements, expansions, adaptations, or
graphic novels of the Work shall be subject to prior Author approval, which shall not be
unreasonably withheld or delayed. The Author agrees not to create for anyone or any
entity other than the Publisher a work that is substantially similar to the Work or covering
essentially the same subject matter, or likely to compete for sales with this Work, during
the term of this Agreement.

For purposes of this Agreement, the “electronic form” of the Work is such forms
as are digitized and can be encoded, stored, or retrieved from such media as computer
disks, CD-ROM, computer databases, ebook readers, and network servers, and include
but are not limited to such works as ebooks, enhanced ebooks, and apps, whether such
apps run of the Internet, a computer, a phone, or any other device,

A sale of.a work in electronic form is defined hereunder to include any revenue
realized from transactions entered into by the Publisher with respect to. works in
electronic form, including but not limited to the sale, licensing, lending for payment, or
other revenue generating activity with respect to such works. In the event that works in
electronic form generate revenue as a group, the division of such revenuc shall be done in
a reasonable manner (such as based on downloads if that information is:ayailable or a pro
rata division among the titles if details as to. specific titles cannot be obtained). .

With the exception of any work already under contract, the Work will be Author’s
next published work (whether under Author's own name or under a pseudonym or in
collaboration with anyone else), and Author will not, prior to delivery of the complete
manuscript of the Work, write or contract with any other publisher to write any other
work for publication in book form without the written permission of ‘Publisher.

Any Tights not granted to the Publisher hereunder are reserved by the Author,

4) Editorial and Production.

The Author agrees to read and correct the galley proofs within ten (1 0) business days of
receipt. Any expenses incurred by the Publisher as a result of the Author's failure to
correct the first pass proofs within the time allotted and/or corrections made to the proofs
(other than printer’s or Publisher's errors) shall be charged against the Author’s royalty
account, based on evidence of the expenses. Unnecessary or excessive author alterations
to the proofs shall also be charged against the Author's royalty account at the Publ isher’s
discretion, based on evidence of the expenses. On the second and subsequent rounds of
corrections, the Author's royalty account shall be charged $3 per alteration (other than
alterations required due to compositor’s errors). The Author agrees, within ten (10)
business days of delivery of page proofs; to provide an index if the Publisher decides one
is necessary. If the Author does not wish or fails'to provide an index, the Publisher may
create one at its own expense and charge that expense against the Author's advance or
royalties.

The Author is encouraged to work closely with the editor on the appearance of the
book. Author hereby grants to the Publisher the sole and exclusive right to decide upon
every aspect of the production and publishing process, including the printing and binding,
the paper choice, the jacket and its design, the extent of advertising whether inside the

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book or otherwise (for the Work itself or for other works, i.e., “house ads” or for :
organizations of any kind), the sending out of complimentary copies and the recipients of
those copies, the retail price in hardcover or paperback or in a promotional edition, and
the format, look, and feel of the original or any other edition.

5) Royalties.

(a) The Publisher agrees to pay the Author the following royalties based on net receipts
(“net receipts” are defined as the revenue realized from the net sales of the Work, which
are the sales after the subtraction of returns from gross sales) and subject to a reasonable
reserve for returns.

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6) Revised or Updated Editions.

If after two (2) years from the first publication of the Work by the Publisher, the
Publisher (in its sole discretion) decides that updates or revisions are necessary, and the
Author agrees to update, edit, or revise the Work, the parties agree to negotiate in good
faith an additional advance. If the Author for any reason cannot or will not update, edit,
or revise the Work, the Publisher shall have the right to hire someone else to do so or to
do that work in-house and to charge the reasonable and documented cost or value of that
work against future royalties due to the Author from the Publisher. This Paragraph 6 shall
only apply to nonfiction works that can be updated or revised by another author in the
event the Author is unwilling or unable to do so. The Author shall have the right to
approve any revision, provided such approval shall be exercised within five (5) business
days of receipt of notice of a proposed revision and such approval shall not be
unreasonably withheld or delayed.

7) Accounting.
The accounting shall be mailed or emailed to the Author or the Author's agent on or

before June 15th and December 15th of each year for copies or rights sold during the

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periods ending December 31st and June 30th respectively. The accounting shall contain
all of the following:
(a) The net sales of the Work for the period.
(b) An indication of any rights.sales for which money has been received
during the period and the amount received by the Publisher, less any
deductions as set forth in Paragraph (5)(b) above,
(c) An indication of the reasonable reserve for returns that has been
withheld (based on factors such as net current sales, Bookscan sales,
inventory at major retailers, and library sales). Reasonable reserves may
be established for any period.in which sales occur, provided that all such
reserves shall revert within four (4) accounting periods of being
established. .

No payment shall. be required for any royalty period during which the net amount due is
less than $50: Said amount shall be carried over to the subsequent period. The Author
shall receive a royalty statement regardless of whether a royalty check is due. If the
Author receives an overpayment resulting from copies sold but subsequently returned or
any other reason, the overpayment may be deducted by the Publisher from any further
sums due to the Author currently or in the future from this Work or any other works by
the Author that the Publisher has published or will publish. Sales of prior editions shall
not be cumulative with sales of any revised edition for purposes of calculating royalties.
No payments, other than the initial advance payment, shall be made prior to the
publication of the Work. An unearned advance shall not be deemed an overpayment.

It is the obligation of the Author to notify the Publisherin writing if royalty
statements and checks are not received in a timely manner, The Author has twelve (12):
months from the date on which a royalty statement is to be sent to indicate either (a) that
the statement was nol received or is incorrect; or (b) that-the royalty payment has.not
been received for any reason, [f the Author does not give notice to the Publisher within
such twelve (12) months, the Author (a) waives any right to receive or correct royalty
statements for the royalty period at issue; and (b) waives the right to receive royalties not
received for the royalty period at issue. If the Author fails to cash a royalty check within
forty-five (45) calendar days of the check’s issuance date for an author in the United
States and ninety (90) calendar days for an author outside the United States and the
Publisher stops payment on such check, the Author shall be charged $45 against the
Author’s royalty account and shall have to wait for the next royalty period to receive a
check for that Work.

If the Author or the author’s agent requests a change of payee for payments to be
made pursuant to this Agreement, there shall be a charge of $100 (unless the prior payee
is deceased) and an agreement signed by both the original payee and the new payee must
be provided to the Publisher.

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shipping cost and accepts the risk of loss of the shipment, If the Author desires to buy in
carton quantity, the discount will-be fifty percent (50%) off retail. The Author may
purchase one hundred (100) copies (rounded up to full carton quantities) at sixty percent
(60%) off the retail price, sixty five percent (65%) up to 1,000 copies, seventy percent
(70%) thereafter: The Author must pay shipping and handling for any copies purchased
from the Publisher, regardless of the discount on the books or the timing of the sale. The
Author shall not sell copies to bookstores. The Author is encouraged to sell copics of the
Work at public speaking engagements, on the Author's website by direct mail, in
newsletters, as a premium, to local retailers, or in any other manner. No royalties shall be
due on any copies sold directly or indirectly to the Author or to a company where he/she
works, or controls, owns or is affiliated with in any way.

9) Original Materials.

The Author hereby releases and forever discharges the Publisher from any and all
liability for loss, damage, or destruction of the Work or.any part of the Work, including
‘but not limited to artwork, illustrations, photos etc., regardless of the cause and even if
the loss, damage, or destruction is the result of the Publisher's negligence or gross
negligence. The Author is therefore encouraged not to send any original or valuable
materials to the Publisher without first obtaining the proper insurance for such materials.

10) Reversion of Rights. .
(a) If the Work shall be declared out-of-print or-the Publisher shall have stopped selling
the Work in all formats, including reprints or editions licensed to other publishers in the
United States, or, if five (5) years after the Publisher's initial publication of the Work. it
is available only in ebook and/or POD versions and the total copies sold during two (2)
consecutive royalty periods do not exceed two hundred (200) copies (without taking
account of returns), and if, within six (6) months of a request by the Author the Publisher
fails to inform the Author in writing ofa plan to reprint, repackage, do a new English
language edition, or license an English language edition to.another publisher in the
United States, then this Agreement can be terminated by the Author in writing. After
réceipt of the termination letter, the Publisher shall have an additional two (2) wecks to
reconsider its options (a total of six [6] months and two [2] weeks) and notify the Author
of its decision. If the Publisher still fails to inform the Author of an intention to keep the
Work in print in the United States, all rights shall revert to the Author, subject to any
grant of rights made by the Publisher prior to the termination date, : ,

(b) Ifthe Publisher is declared bankrupt by a court of competent jurisdiction and is going
‘to cease all operations, the’Author shall have the exclusive right to buy back the rights of
publication, together with any remaining copies bound or unbound of the Work, at their
fair market value (to be determined by agreement between the Publisher and the Author).
If the Author shall decide not to purchase the remaining copies, the Publisher may sell
them off at the best price it can obtain without any accounting to the Author.

(c) Termination of this Agreement for any reason is subject to (1) the continuation of any

options, grants or licenses or other third-party uses and rights arising from the Publisher's

pre-termination exercise of the rights granted herein, and (2) Publisher’s continued

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participation, to the extent provided, in any such options, grants, licenses or other third-
party uses so granted by Publisher.

12) Assignment/Beneficiarics.

The Author shall not make any assignment of this Agreement, in whole or in part,
without prior approval i in writing and signed by the Publisher, The Publisher shall have
the right to assign all its rights and obligations under this Agreement, In the event of the
death of the Author, any future royalties payable shall be paid to the Author's agent, if
any, and in the absence of an agent to the Author’s executor or beneficiaries upon receipt
of appropriate written notice and documentation from the party to receive said payments.

13) Publicity.
The Author agrées t6 submit a photograph and to. complete an author questionnaire,

including.an author biography, for publicity purposes. The Author-consents to the use
of author’s name, pre-approved likeness, and pre-approved image to be used in
connection with the Work, and agrees to use Author's best efforts in promoting the
Work through social media and to participate to the best of Author’s ability in the
marketing, arid publicity of the Work, Pursuant to this paragraph, the Author agrees to
beiavailable for publicity purposes for the ten (10) business day period commencing
with the publication date and to appear on any and all radio, television, and other
publicity venves that the Publisher believes will likely increase sales of the Work: If
publicity appearances require travel beyond a 100-mile radius from the Author’s
addiess, Publisherand Author shall mutually agree on how to cover travel costs or
Author shall have the right to decline these opportunities. Any reimbursement must
be approved by the Publisher in writing before such travel. The Author shall make
and provide to Publisher a oné-minute video explaining why the Author wrote the
Work and what three key points the Author hopes readers will take away from the
Work: The Author further agrees to refrain from taking any actions:during the
publicizing of the Work or. thereafter that are likely to hurt sales of the Work. In
addition, the Publisher shall have'the right to publish without compensation to the
Author an excerpt of up to two thousand (2,000) words in any format or form for
purposes of promoting the Workor to grant that right free of charge to third parties.
In cases where film rights are licensed, the Publisher may allow promotional excerpts
free of charge of up to seven thousand five hundred (7,500) words.

14) Notices, Modifications, Waivers, and Governing Law.

Notices hereunder-shall be made by mail or email. It.is the Author's responsibility to
communicate any change of address to the Publisher and any payments sent by the
Publisher by regular mail that are returned to the Publisher may be withheld ‘from the
Author until such time as the Author provides the Publisher with a correct address to

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which said payment may be sent. This Agreement contains the entire understanding
between the parties and supersedes all prior, contemporaneous, OF subsequent it
negotiations between the parties, except those that reference this Agreement. specifica y
modify its terms, and are signed by both parties. A waiver or default under any provision
of this Agreement shall not permit future waivers or defaults under that or any other
provisions of this Agreement. No waiver or modification shall be valid or binding unless
delivered in writing and signed by the parties. This Agreement shall be binding upon and
inure to the benefit of the heirs, executors, administrators, and assigns of the Author and
the successors and assigns of the Publisher. This Agreement shall be interpreted and
construed jn accordance with the laws of the State of New York applicable to contracts
made and to be entirely performed therein, without giving effect to New York’s chaice-
of-law rules or to any rule of construction that allows.or directs that ambiguities be
construed against the drafter of a contract. The state courts of the State of New Yorkin
and for New York County; and if the jurisdictional prerequisites exist, the United States
District Court for the Southern District of New York, and no other court or tribunal, shall
have sole and exclusive jurisdiction to hear and determine any dispute or controversy
arising under or.conceming this Agreement. With respect to any such action or
proceeding, each party hereto irrevocably (a) consents and submits to ‘the personal
jurisdiction of said courts, and (b) waives the defense of lack of personal jurisdiction
and/or inconvenient forum and/or improper-venue. Each party hereby consents to service
of process upon him/her/it either personally or by registered or certified mail, postage
prepaid, return receipt requested at the addresses given above. Notwithstanding the
foregoing, any dispute hereunder in which the principal sum (i.e., before interest, any
claim for attorneys’ fees or other costs or expenses) is less than $50,000 shall be
submitted to binding arbitration before the American Arbitration Association in New
York, New York, and settled in accordance with the rules of the American Arbitration
Association. Judgment upon the arbitration award may be entered in any court having
jurisdiction thereof,

15) Agency Clause.

Author hereby confirms that Author has irrevocably appointed and designated
WATERSIDE PRODUCTIONS, INC. (herein called "Agent"), 2055 Oxford Avenue.
Cardiff-by-the-Sca, CA 92007, as Author's sole and exclusive agent throughout the world
with respect to the Work and all rights herein. Author hereby irrevocably directs and
authorizes Publisher to pay and forward all statements and monies otherwise accruing
from Publisher to Author with respect to the Work solely to and in the name of
Waterside Productions, and Publisher agtees to do so. Receipt by Agent shall be
deemed receipt by Author. Author hereby irrevocably empowers Agent to act on
Author's behalf in all matters arising from or pertaining to this Agreement and/or the
Work, ,

Author hereby irrevocably agrees to pay Agent, and Author hereby irrevocably
authorizes Agent to receive and retain, and Author hereby irrevocably assigns and
transfers to Agent an amount equal to fifteen percent (15%) of all monies accruing,
payable or paid to Author under this Agreement and otherwise accruing from
Publisher to Author with respect to the Work, and Publisher hereby accepts and agrees

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to honor said assignment and transfer. Author acknowledges that said appointment
and designation of Agent is coupled with an interest. Agent shall be considered a third
person beneficiary of Publisher's said agreements to make payments to Author and to
honor said assignment. The term "this Agreement” as used in this paragraph includes
but is not limited to this Agreement and all modifications, amendments, alterations,
renewals and extensions, and supplements to this Agreement, and all transactions
between Author and Publisher pertaining to the Work, whenever and by whomever
made. The term "Author" as used in this patagraph includes but is not limited tovall
author(s) named elsewhere in this Agreement and their successors, assigns, licensees.
heirs, legal representatives, administrators and executors and anyone acting on their
behalf or in their place and stead.

Waterside Productions, Inc. Federal Identification
Number: 95 3718151,

16) Definition of the Work.

“The Work” as used throughout this Agreement shall include all materials supplied by
thé Author to the Publisher (including bul not limited to photographs of or by the
Author), printed books, ebooks, audio books, large print books, limited editions;
computer disks, CD-ROMs, applications, and all other ancillary products or means of
distribution, electronic or otherwise, whether now known or hereinafter discovered or
developed.

17) Use of Excerpts in the Publisher’s Other Works:

The Author hereby grants to the Publisher the non-exclusive right to use brief excerpts in
compilations that it either creates in-house or hires one of its writers to compile and edit
or that is being compiled and edited for the Publisher by another author. The fee for any
‘such use will be $100 for up to fifteen (15) pages, $200 for up to thirty (30) pages, and
$300 for up to forty-five (45) pages, all of which shall be treated as a rights sale and
accounted for pursuant to Paragraph 7(b). The Publisher waives its right to a percentage
of this fee. Any usage pursuant to this Paragraph 18 shall be subject to the Author's
approval.

18) Book Blurbs and Reviews.

The Author agrees to obtain three'to four (3-4) blurbs for use on the back cover of the
Work: Such blurbs shall be obtained in a timely manner based on consultation with the
editor with respect to the Work’s schedule. In addition, the author shall use best efforts to
obtain at least twenty (20) amazon.com or bn.com reviews from colleagues, experts in the
relevant field, or other readers by sending out manuscripts or PDFs of the Work.

19) Default. '

lf the Publisher defaults in the delivery of semi-annual statements or in the making of
payments as hercin provided and shall neglect or refuse to deliver such statements or
make such payments within sixty (60) calendar days after written notice of such default is
delivered to publisher via certified mail, this agreement shall terminate at the expiration

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of such sixty (60) calendar days without prejudice to the Author's claim for any monies
which may have accrued under this Agreement.

20) Force Majeure.

The failure of Publisher to publish or reissue the Work or otherwise perform its
obligations under this Agreement shall not be deemed to be a violation of the Agreement
or give rise to any right of termination or reversion if such failure arises from “force
majeure.” Publisher's time to publish, reissue, or otherwise perform its obligations shall
be extended for a period equal to the period of delay caused by the force majeure. For
purposes of this Agreement, “force majeure” includes, without limitation, acts of God,
fires, national disasters, acts of war or terrorism, restrictions of governmental agencies,
labor disputes, or inability to obtain the materials necessary for printing, or any other
circumstances beyond Publisher’s reasonable control.

21) Copyright.

Notice of copyright in the Work shall appéar in each copy of the Work published by
Publisher and shall be in the following name:

Alex Jones

22) Delivery of Signed Contract.

The contract may be either scanned and returied by either party via email, or faxed, and
the signatures delivered via‘email or fax shall be:deemed original signatures.

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IN WITNESS WHEREOF, the parties have signed this Agreement as of the date first set
forth above to constitute it a binding agreement between them.

FOR SKYHORSE PUBLISHING, INC.

DocuSigned by:
; 2/6/2023
igned: | a

FOR ALEX JONES

Signed:

Johanna Maaghul signing for Agency Waterside Productions (representing with Bill
Gladstone)
DocuSigned by
= by

2/6/2023
Signed Veh

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